          CASE 0:16-cv-03308-SRN-KMM Document 20 Filed 02/15/17 Page 1 of 1



                                 IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF MINNESOTA

                             TELEPHONE CONFERENCE MINUTE ENTRY

Steven Verba,                                                        COURT MINUTES
                                          Plaintiff,                BEFORE: Kate Menendez
   v.                                                                 U.S. Magistrate Judge

Kone, Inc.,                                              Case No:       16-cv-3308-SRN-KMM
                                                         Date:          February 15, 2017
                                          Defendant.     Location:      Chambers 8E
                                                         Time Commenced: 8:30 a.m.
                                                         Time Concluded:      8:45 a.m.
                                                         Time in Court:       15 Minutes

APPEARANCES:

For Plaintiff: Emma Denny; Fabian May & Anderson, PLLP
For Defendant: Elisa Lintemuth/Kristina Kaluza; Dykema Gossett PLLC

The Court and counsel discuss the progress of discovery. The settlement conference
set for May will remain. If slight adjustments to the discovery deadline are required if
the settlement conference does not resolve the case, the Court will make those
adjustments then.




                                                       s/Wendi Tilden
                                                       Courtroom Deputy/Judicial Assistant




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